Case 5:21-cr-50014-TLB Document 157               Filed 05/24/22 Page 1 of 2 PageID #: 3842




                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                              FAYETTEVILLE DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
       Plaintiff,                                )
                                                 )
v.                                               )            Case No. 5:21-CR-50014-001
                                                 )
JOSHUA DUGGAR,                                   )
                                                 )
       Defendant.                                )

     DEFENDANT’S SUPPLEMENTAL SUBMISSION OF SENTENCING LETTER

       Defendant Joshua Duggar, by and through undersigned counsel, respectfully submits an

additional sentencing letter recently received, attached hereto as Exhibit 1.

                                              Respectfully Submitted,

                                              Margulis Gelfand, LLC

                                                /s/ Ian T. Murphy
                                              JUSTIN K. GELFAND, MO Bar No. 62265*
                                              IAN T. MURPHY, MO Bar No. 68289*
                                              7700 Bonhomme Ave., Ste. 750
                                              St. Louis, MO 63105
                                              Telephone: 314.390.0234
                                              Facsimile: 314.485.2264
                                              justin@margulisgelfand.com
                                              ian@margulisgelfand.com
                                              *Admitted Pro Hac Vice

                                              --- and ---

                                              Story Law Firm, PLLC

                                              /s/ Travis W. Story
                                              Travis W. Story, AR Bar No. 2008278
                                              2603 Main Drive, Suite 106
                                              Fayetteville, AR 72704
                                              Telephone: (479) 448-3700
                                              Facsimile: (479) 443-3701
                                              travis@storylawfirm.com
Case 5:21-cr-50014-TLB Document 157                 Filed 05/24/22 Page 2 of 2 PageID #: 3843




                                        Certificate of Service

        I hereby certify that the foregoing was filed electronically with the Clerk of the Court, and

 that all parties will receive notice of this filing through this Court’s electronic filing system.


                                                  /s/ Ian T. Murphy
                                                JUSTIN K. GELFAND, MO Bar No. 62265*
                                                IAN T. MURPHY, MO Bar No. 68289*
                                                7700 Bonhomme Ave., Ste. 750
                                                St. Louis, MO 63105
                                                Telephone: 314.390.0234
                                                Facsimile: 314.485.2264
                                                justin@margulisgelfand.com
                                                ian@margulisgelfand.com
                                                *Admitted Pro Hac Vice




                                                   2
